Case 2:05-cr-20251-SH|\/| Document 30 Filed 07/20/05 Page 1 of 2 Page|D 34

 

IN THE UNITED sTATEs DIsTRIcT cOURT mo BY-?c_ D.O.
FOR THE wEsTERN DIsTRIcT oF TENNESSEE -

WESTERN DIVISION 05 JUL 20 PH ha 33
MJMASM.GOMD

UNITED sTATEs 0F AMERICA, MUS.C¢SHCICOW
W./D aff twigg

VS. NO. 05-20251-MaP
GEORGE ARDS,

Defendant.

 

ORDER GRANTING MOTION TO WITHDRAW AND
REFERRING MATTER TO MAGISTRATE JUDGE FOR APPOINTMENT OF COUNSEL

 

Before the court is the July 15, 2005, motion to Withdraw
filed by appointed counsel for the defendant, Randolph W. Alden
on behalf of himself and the Federal Public Defender. For good
cause shown, the motion is granted and Mr. Alden and the Federal
Public Defender are allowed to Withdraw from representing the
defendant in this matter. The matter is referred to the
magistrate judge for appointment of counsel for the defendant
pursuant to the Criminal Justice Act.

lt is so oRDERED this %w`day of July, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

This decL ment entered on the docket sheet in comp.‘:au'e

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Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 2:05-CR-20251 Was distributed by faX, mail, or direct printing on
July 22, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

